FILED

UNITED STATES BANKRUPTCY COURT APR ~ 5 2021

FOR THE DISTRICT OF ALASKA
CLER
U8, BANKAUPToy COURT

UNCLAIMED DIVIDENDS/DIVIDENDS LESS THANs&5.00
DEPUTY GLERK

FOR DEPOSIT TO REGISTRY FUND

DEBTOR: POMRENKE MINING, LLC, A DELAWARE LI
CASE NUMBER: 19-00083

PLEASE CHECK ONE:

Xx UNCLAIMED DIVIDENDS

 

TL == DISTRIBUTION LESS THAN $5.00- me

 

CREDITOR/ADDRESS CLAIM NO AMOUNT
Morgan Sales and Service 17 401.63
PO Box 1070 17 Interest 17.84

Nome, Ak. 99762

InCorp Services 21 99.00
PO Box 94438 21 Interest 4.40
Las Vegas, Nv. 89193

 

 

 

INTEREST EARNED SUBSEQUENT DISTRIBUTION OF DIVIDENDS
$

TOTAL: $ $522.87

DATE: April 2. 2021 Ladue, Jiao

KENNETH W. navn
EXHIBIT 1 TO TRUSTEE’S FINAL ACCOUNT AFTER DISTRIBU MOTION

FOR DISCHARGE
REVISED 2/94
